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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                              HAMMOND DIVISION


 UNITED STATES OF AMERICA                 )
                                          )
                            v.            )      Cause No.: 2:13 CR 111-PPS-JEM-9
                                          )
 ALMA DELIA CARRERA                       )

                                         ORDER

        This matter is before the Court on the Findings and Recommendation of the

 Magistrate Judge Upon a Plea of Guilty by Defendant Alma Delia Carrera [DE 194]. No

 objections have been filed to Magistrate Judge Martin’s findings and recommendations

 upon a plea of guilty. Accordingly, the Court now ADOPTS those findings and

 recommendations. The Court ACCEPTS Carrera’s plea of guilty, and FINDS Carrera

 guilty of the offense charged in Count 2 of the Superseding Indictment, in violation of

 21 U.S.C. § 846.

        SO ORDERED.

        ENTERED: March 16, 2015

                                                 s/ Philip P. Simon
                                                 PHILIP P. SIMON, JUDGE
                                                 UNITED STATES DISTRICT COURT
